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                                 10                         UNITED STATES DISTRICT COURT
                                 11
                                                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 12
                                       MEGHAN DOWNING, individually              CASE NO.:
3055 Wilshire Blvd, 12th Floor




                                 13
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                                       and on behalf of all others similarly
                                       situated,
                                 14                                                     CLASS ACTION COMPLAINT
                                                           Plaintiff,                1. VIOLATIONS OF THE
                                 15
                                             v.                                         AMERICANS WITH
                                 16                                                     DISABILITIES ACT OF 1990, 42
                                 17                                                     U.S.C. § 12181
                                       BEVERLY TERRACE, INC., a                      2. VIOLATIONS OF THE UNRUH
                                 18    California corporation; and DOES 1               CIVIL RIGHTS ACT
                                       to 10 inclusive,                                 DEMAND FOR JURY TRIAL
                                 19
                                 20                       Defendants.
                                 21
                                 22          Plaintiff Meghan Downing (“Plaintiff”), individually and on behalf of all
                                 23    others similarly situated, brings this action based upon personal knowledge as to
                                 24    herself and her own acts, and as to all other matters upon information and belief,
                                 25    based upon, inter alia, the investigations of her attorneys.
                                 26                               NATURE OF THE ACTION
                                 27          1.     Plaintiff is a visually impaired and legally blind person who requires
                                 28    screen-reading software to read website content using her computer. Plaintiff uses
                                                                                 1
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1     the terms “blind” or “visually-impaired” to refer to all people with visual
                                 2     impairments who meet the legal definition of blindness in that they have a visual
                                 3     acuity with correction of less than or equal to 20 x 200. Some blind people who
                                 4     meet this definition have limited vision. Others have no vision.
                                 5           2.     Plaintiff, individually and on behalf of those similarly situated persons
                                 6     (hereafter “Class Members”), brings this Class Action to secure redress against
                                 7     Beverly Terrace, Inc. (hereafter “Defendant”), and DOES 1-10, for its failure to
                                 8     design, construct, maintain, and operate its website to be fully and equally
                                 9     accessible to and independently usable by Plaintiff and other blind or visually
                                 10    impaired people. Defendant’s denial of full and equal access to its website, and
                                 11    therefore denial of its products and services offered thereby and in conjunction with
                                 12    its physical location, is a violation of Plaintiff’s rights under the Americans with
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                                 13    Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
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                                 14          3.     Because Defendant’s website, https://www.hotelbeverlyterrace.com/,
                                 15    (the “website” or “Defendant’s website”), is not fully or equally accessible to blind
                                 16    and visually impaired consumers, resulting in violation of the ADA, Plaintiff seeks
                                 17    a permanent injunction to cause a change in Defendant’s corporate policies,
                                 18    practices, and procedures so that Defendant’s website will become and remain
                                 19    accessible to blind and visually impaired consumers.
                                 20                                      THE PARTIES
                                 21          4.     Plaintiff, at all times relevant and as alleged herein, is a resident of
                                 22    California, County of Santa Barbara. Plaintiff is a legally blind, visually impaired,
                                 23    handicapped person, and member of a protected class of individuals under the ADA,
                                 24    pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA
                                 25    set forth at 28 CFR §§ 36.101 et seq.
                                 26          5.     Defendant is a California corporation with its headquarters in Los
                                 27    Angeles, California. Defendant’s servers for the website are in the United States.
                                 28    Defendant conducts a large amount of its business in California and the United
                                                                                 2
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1     States as a whole. Defendant’s hotel constitutes a place of public accommodation.
                                 2     Defendant’s hotel provides to the public important goods and services. Defendant’s
                                 3     website provides consumers access a “midcentury hideaway in Beverly Hills” in
                                 4     the form of an “iconic boutique hotel.” Consumers can further access information
                                 5     regarding booking a hotel room, hotel room rates, amenities provided, reserving a
                                 6     table at Defendant’s on-site restaurant—Café Amici, ordering online for pickup or
                                 7     delivery, the hotel and restaurant location, and Defendant’s cancellation policy.
                                 8     Consumers can also access information regarding Covid-19 precautions,
                                 9     Defendant’s menu, contact information, and business hours.
                                 10           6.     Plaintiff is unaware of the true names, identities, and capacities of
                                 11    Defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 12    complaint to allege the true names and capacities of DOES 1 to 10 if and when
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                                 13    ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
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                                 14    Defendant sued herein as a DOE is legally responsible in some manner for the
                                 15    events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 16    proximately caused injuries and damages to Plaintiff as set forth below.
                                 17           7.     Defendant’s hotel is a public accommodation within the definition of
                                 18    Title III of the ADA, 42 U.S.C. § 12181(7).
                                 19           8.     The website, https://www.hotelbeverlyterrace.com/, is a service,
                                 20    privilege, or advantage of Defendant’s services, products, and location.
                                 21                              JURISDICTION AND VENUE
                                 22           9.     This Court has subject matter jurisdiction over the state law claims
                                 23    alleged in this Complaint pursuant to the Class Action Fairness Act, 28 U.S.C.
                                 24    §1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5
                                 25    million, exclusive of interest and costs; and (b) some of the class members are
                                 26    citizens of a state (California).
                                 27           10.    Defendant is subject to personal jurisdiction in this District. Defendant
                                 28    has been and is committing the acts or omissions alleged herein in the Central
                                                                                  3
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1     District of California that caused injury, and violated rights prescribed by the ADA
                                 2     and UCRA, to Plaintiff and to other blind and other visually impaired consumers.
                                 3     A substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                 4     in the Central District of California. Specifically, on several separate occasions,
                                 5     Plaintiff has been denied the full use and enjoyment of the facilities, goods, and
                                 6     services of Defendant’s website in Santa Barbara County. The access barriers
                                 7     Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s
                                 8     full and equal access multiple times in the past and now deter Plaintiff on a regular
                                 9     basis from accessing Defendant’s website. Similarly, the access barriers Plaintiff
                                 10    has encountered on Defendant’s website have impeded Plaintiff’s full and equal
                                 11    enjoyment of goods and services offered at Defendant’s physical location.
                                 12          11.    This Court also has subject-matter jurisdiction over this action
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                                 13    pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
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                                 14    under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 15          12.    This Court has personal jurisdiction over Defendant because it
                                 16    conducts and continues to conduct a substantial and significant amount of business
                                 17    in the State of California, County of Santa Barbara, and because Defendant's
                                 18    offending website is available across California.
                                 19          13.    Venue is proper in the Central District of California pursuant to 28
                                 20    U.S.C. §1391 because Plaintiff resides in this District, Defendant conducts and
                                 21    continues to conduct a substantial and significant amount of business in this District,
                                 22    Defendant is subject to personal jurisdiction in this District, and a substantial
                                 23    portion of the conduct complained of herein occurred in this District.
                                 24          14.    Defendant owns, operates, and maintains a brick-and-mortar hotel
                                 25    location in the State of California. Defendant’s hotel offers goods and services to
                                 26    the public. Defendant also offers good and services to the public through the
                                 27    website. Defendant’s brick-and-mortar hotel location and website are integrated.
                                 28    ///
                                                                                  4
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1       THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 2           15.    The Internet has become a significant source of information, a portal,
                                 3     and a tool for conducting business, doing everyday activities such as shopping,
                                 4     learning, banking, researching, as well as many other activities for sighted, blind
                                 5     and visually impaired persons alike.
                                 6           16.    In today's tech-savvy world, blind and visually impaired people have
                                 7     the ability to access websites using keyboards in conjunction with screen access
                                 8     software that vocalizes the visual information found on a computer screen. This
                                 9     technology is known as screen-reading software.         Screen-reading software is
                                 10    currently the only method a blind or visually impaired person may independently
                                 11    use to access the internet. Unless websites are designed to be read by screen-reading
                                 12    software, blind and visually impaired persons are unable to fully access websites,
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                                 13    and the information, products, and services contained thereon.
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                                 14          17.    Blind and visually impaired users of Windows operating system-
                                 15    enabled computers and devices have several screen-reading software programs
                                 16    available to them. Some of these programs are available for purchase and other
                                 17    programs are available without the user having to purchase the program separately.
                                 18    Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                 19    popular, separately purchased and downloaded screen-reading software program
                                 20    available for a Windows computer.
                                 21          18.    For screen-reading software to function, the information on a website
                                 22    must be capable of being rendered into text. If the website content is not capable
                                 23    of being rendered into text, the blind or visually impaired user is unable to access
                                 24    the same content available to sighted users.
                                 25          19.    The international website standards organization, the World Wide
                                 26    Web Consortium, known throughout the world as W3C, has published Success
                                 27    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 28    hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                                                                 5
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1     accessible to blind and visually impaired people. These guidelines are adopted,
                                 2     implemented, and followed by most large business entities who want to ensure their
                                 3     websites are accessible to users of screen-reading software programs. Though
                                 4     WCAG 2.1 has not been formally adopted as the standard for making websites
                                 5     accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 6     maintain, and provide a website that is accessible under the ADA to the public.
                                 7           20.    Within this context, the Ninth Circuit has recognized the viability of
                                 8     ADA claims against commercial website owners/operators with regard to the
                                 9     accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                 10    55504 (9th Cir. Apr. 13, 2017), Court Docket No. BL-66. This is in addition to the
                                 11    numerous courts that have already recognized such application.
                                 12          21.    Each of Defendant’s violations of the Americans with Disabilities Act
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                                 13    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
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                                 14    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 15    Civil Rights Act. Cal. Civ. Code § 51(f).
                                 16          22.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                 17    equal access to their accommodations, facilities, and services.        A substantial
                                 18    motivating reason for Defendant to deny Plaintiff access was the perception of
                                 19    Plaintiff’s disability.   Defendant’s denial of Plaintiff’s accessibility was a
                                 20    substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                 21    to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 22    in causing the lack of access to Plaintiff. Unruh Civil Rights Act, Cal. Civ. Code §
                                 23    51.
                                 24          23.    Inaccessible or otherwise non-compliant websites pose significant
                                 25    access barriers to blind and visually impaired persons.           Common barriers
                                 26    encountered by blind and visually impaired persons include, but are not limited to,
                                 27    the following:
                                 28                 a. A text equivalent for every non-text element is not provided;
                                                                                 6
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1                 b. Title frames with text are not provided for identification and
                                 2                    navigation;
                                 3                 c. Equivalent text is not provided when using scripts;
                                 4                 d. Forms with the same information and functionality as for sighted
                                 5                    persons are not provided;
                                 6                 e. Information about the meaning and structure of content is not
                                 7                    conveyed by more than the visual presentation of content;
                                 8                 f. Text cannot be resized without assistive technology up to 200
                                 9                    percent without loss of content or functionality;
                                 10                g. If the content enforces a time limit, the user is not able to extend,
                                 11                   adjust or disable it;
                                 12                h. Web pages do not have titles that describe the topic or purpose;
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                                 13                i. The purpose of each link cannot be determined from the link text
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                                 14                   alone or from the link text and its programmatically determined link
                                 15                   context;
                                 16                j. One or more keyboard operable user interface lacks a mode of
                                 17                   operation where the keyboard focus indicator is discernible;
                                 18                k. The default human language of each web page cannot be
                                 19                   programmatically determined;
                                 20                l. When a component receives focus, it may initiate a change in
                                 21                   context;
                                 22                m. Changing the setting of a user interface component may
                                 23                   automatically cause a change of context where the user has not been
                                 24                   advised before using the component;
                                 25                n. Labels or instructions are not provided when content requires user
                                 26                   input;
                                 27                o. In content which is implemented by using markup languages,
                                 28                   elements do not have complete start and end tags, elements are not
                                                                               7
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1                     nested according to their specifications, elements may contain
                                 2                     duplicate attributes and/or any IDs are not unique;
                                 3                 p. Inaccessible Portable Document Format (PDFs); and
                                 4                 q. The name and role of all User Interface elements cannot be
                                 5                     programmatically determined; items that can be set by the user
                                 6                     cannot be programmatically set; and/or notification of changes to
                                 7                     these items is not available to user agents, including assistive
                                 8                     technology.
                                 9                              FACTUAL BACKGROUND
                                 10          24.   Defendant offers the https://www.hotelbeverlyterrace.com/ website to
                                 11    the public. The website offers features which should allow all consumers to access
                                 12    the goods and services which Defendant offers in connection with its physical
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                                 13    location. The goods and services offered by Defendant include, but are not limited
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                                 14    to, the following: hotel rooms such as the class king suite, beautiful king room,
                                 15    beautiful queen room, double room, desirable king room, king suite, desirable
                                 16    queen room, deluxe double room, classic king room, and classic queen room;
                                 17    Defendant’s cancellation policy; hotel room rates; amenities such as air
                                 18    conditioning, HDMI cables, paid parking, and Wi-Fi; and Defendant’s on-site
                                 19    Italian restaurant, Café Amici. Consumers can further access information regarding
                                 20    Defendant’s hotel and restaurant location, hours of operation, Defendant’s contact
                                 21    information, table reservations, ordering online for pickup or delivery, Covid-19
                                 22    safety precautions, and Defendant’s menu.
                                 23          25.   Based on information and belief, it is Defendant's policy and practice
                                 24    to deny Plaintiff and Class Members, along with other blind or visually impaired
                                 25    users, access to Defendant’s website, and to therefore specifically deny the goods
                                 26    and services that are offered and integrated within Defendant’s hotel. Due to
                                 27    Defendant's failure and refusal to remove access barriers on its website, Plaintiff
                                 28    and other visually impaired persons have been and are still being denied equal and
                                                                                8
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1     full access to Defendant’s hotel and a variety of other products and services offered
                                 2     to the public through Defendant’s website.
                                 3     DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT, CAL. CIV.
                                 4        CODE § 51(f) DENY PLAINTIFF AND CLASS MEMBERS ACCESS
                                 5           26.    Plaintiff is a visually impaired and legally blind person, who cannot
                                 6     use a computer without the assistance of screen-reading software. However,
                                 7     Plaintiff is a proficient user of the JAWS or NV Access screen-reader(s) as well as
                                 8     Mac’s VoiceOver and use it to access the internet.             Plaintiff has visited
                                 9     https://www.hotelbeverlyterrace.com/, on several separate occasions using the
                                 10    JAWS and/or VoiceOver screen-readers.
                                 11          27.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                 12    encountered multiple access barriers which denied Plaintiff full and equal access to
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                                 13    the facilities, goods, and services offered to the public and made available to the
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                                 14    public on Defendant’s website and its prior iterations. Due to the widespread access
                                 15    barriers Plaintiff and Class Members encountered on Defendant’s website, Plaintiff
                                 16    and Class Members have been deterred, on a regular basis, from accessing
                                 17    Defendant’s website. Similarly, the access barriers Plaintiff has encountered on
                                 18    Defendant’s website has deterred Plaintiff and Class Members from visiting
                                 19    Defendant’s physical location.
                                 20          28.    While attempting to navigate Defendant’s website, Plaintiff and Class
                                 21    Members encountered multiple accessibility barriers for blind or visually impaired
                                 22    people that include, but are not limited to, the following:
                                 23                 a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 24                    is invisible code embedded beneath a graphic or image on a website
                                 25                    that is read to a user by a screen-reader. For graphics or images to
                                 26                    be fully accessible for screen-reader users, it requires that alt-text
                                 27                    be coded with each graphic or image so that screen-reading
                                 28                    software can speak the alt-text to describe the graphic or image
                                                                                 9
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                                 1                 where a sighted user would just see the graphic or image. Alt-text
                                 2                 does not change the visual presentation, but instead a text box
                                 3                 shows when the cursor hovers over the graphic or image. The lack
                                 4                 of alt-text on graphics and images prevents screen-readers from
                                 5                 accurately vocalizing a description of the image or graphic. As a
                                 6                 result, Plaintiff and Class Members, who are blind and visually
                                 7                 impaired customers, are unable to access a “midcentury hideaway
                                 8                 in Beverly Hills” in the form of an “iconic boutique hotel.”
                                 9                 Consumers are also unable to access information regarding booking
                                 10                a hotel room, hotel room rates, amenities provided, reserving a table
                                 11                at Defendant’s on-site restaurant—Café Amici, ordering online for
                                 12                pickup or delivery, the hotel and restaurant location, and
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                                 13                Defendant’s cancellation policy. Further, consumers are unable to
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                                 14                access information regarding Covid-19 precautions, Defendant’s
                                 15                menu, contact information, business hours, or complete any
                                 16                purchases;
                                 17             b. Empty Links that contain No Text causing the function or purpose
                                 18                of the link to not be presented to the user. This can introduce
                                 19                confusion for keyboard and screen-reader users;
                                 20             c. Redundant Links where adjacent links go to the same URL address
                                 21                which results in additional navigation and repetition for keyboard
                                 22                and screen-reader users; and
                                 23             d. Linked Images missing alt-text, which causes problems if an image
                                 24                within a link does not contain any descriptive text and that image
                                 25                does not have alt-text. A screen reader then has no content to
                                 26                present the user as to the function of the link, including information
                                 27                or links for and contained in PDFs.
                                 28       29.   Recently in 2021, Plaintiff attempted to do business with Defendant
                                                                            10
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    on Defendant’s website.      Plaintiff has visited prior iterations of the website,
                                 2    https://www.hotelbeverlyterrace.com/, and also encountered barriers to access on
                                 3    Defendant’s website.
                                 4          30.     Despite past and recent attempts to do business with Defendant on its
                                 5    website, the numerous access barriers contained on the website and encountered by
                                 6    Plaintiff have denied Plaintiff full and equal access to Defendant’s website.
                                 7    Plaintiff and Class Members, as a result of the barriers on Defendant’s website,
                                 8    continue to be deterred on a regular basis from accessing Defendant’s website.
                                 9    Likewise, based on the numerous access barriers Plaintiff and Class Members have
                                 10   been deterred and impeded from the full and equal enjoyment of goods and services
                                 11   offered in Defendant’s hotel and from making purchases at such physical location.
                                 12               DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
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                                 13         31.     Due to the inaccessibility of the Defendant’s website, blind and
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                                 14   visually impaired customers such as the Plaintiff, who need screen-readers, cannot
                                 15   fully and equally use or enjoy the facilities and services the Defendant offers to the
                                 16   public on its website. The access barriers the Plaintiff encountered have caused a
                                 17   denial of Plaintiff’s full and equal access in the past and now deter Plaintiff on a
                                 18   regular basis from accessing the website.
                                 19         32.     These access barriers on Defendant’s website have deterred Plaintiff
                                 20   from visiting Defendant’s physical location and enjoying it equal to sighted
                                 21   individuals because: Plaintiff was unable to find the location and hours of operation
                                 22   of Defendant’s hotel on its website preventing Plaintiff from visiting the location to
                                 23   purchase goods and/or services. Plaintiff and Class Members intend to visit the
                                 24   Defendant’s location in the near future if Plaintiff and Class Members could access
                                 25   Defendant’s website.
                                 26         33.     If the website were equally accessible to all, Plaintiff and Class
                                 27   Members could independently navigate the website and complete a desired
                                 28   transaction, as sighted individuals do.
                                                                                11
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                                 1          34.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 2    knowledge of the access barriers that make these services inaccessible and
                                 3    independently unusable by blind and visually impaired people.
                                 4          35.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 5    and Class Members, who are visually impaired consumers, with equal access to the
                                 6    website, Plaintiff and Class Members allege that Defendant engaged in acts of
                                 7    intentional discrimination, including, but not limited to, the following policies or
                                 8    practices: constructing and maintaining a website that is inaccessible to visually
                                 9    impaired individuals, including Plaintiff and Class Members; failing to construct
                                 10   and maintain a website that is sufficiently intuitive so as to be equally accessible to
                                 11   visually impaired individuals, including Plaintiff and Class Members; and failing to
                                 12   take actions to correct these access barriers in the face of substantial harm and
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                                 13   discrimination to blind and visually impaired consumers, such as Plaintiff and Class
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                                 14   Members, as a member of a protected class.
                                 15         36.    The Defendant uses standards, criteria, or methods of administration
                                 16   that have the effect of discriminating or perpetuating the discrimination against
                                 17   others, as alleged herein.
                                 18         37.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 19   seeks in this action. In relevant part, the ADA requires:
                                 20         In the case of violations of … this title, injunctive relief shall include
                                            an order to alter facilities to make such facilities readily accessible to
                                 21         and usable by individuals with disabilities …. Where appropriate,
                                 22         injunctive relief shall also include requiring the … modification of a
                                            policy …. 42 U.S.C. § 12188(a)(2).
                                 23
                                 24         38.    Because Defendant’s website has never been equally accessible and

                                 25   because Defendant lacks a corporate policy that is reasonably calculated to cause

                                 26   the Defendant’s website to become and remain accessible, Plaintiff invokes 42

                                 27   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to

                                 28   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                                                                12
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    with WCAG 2.1 guidelines for Defendant’s website.               The website must be
                                 2    accessible for individuals with disabilities who use desktop computers, laptops,
                                 3    tablets, and smartphones. Plaintiff and Class Members seek that this permanent
                                 4    injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                 5    Defendant’s employees and agents who develop the website on accessibility
                                 6    compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                 7    the website under the WCAG 2.1 guidelines; regularly test user accessibility by
                                 8    blind or vision-impaired persons to ensure that the Defendant’s website complies
                                 9    under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly
                                 10   disclosed on the Defendant’s website. The above provides contact information for
                                 11   users to report accessibility-related problems and require that any third-party
                                 12   vendors who participate on the Defendant’s website to be fully accessible to the
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                                 13   disabled by conforming with WCAG 2.1.
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                                 14          39.   If Defendant’s website were accessible, Plaintiff and Class Members
                                 15   could independently access information about Defendant’s hotel location, hours,
                                 16   services offered, and services available for online purchase.
                                 17          40.   Although Defendant may currently have centralized policies regarding
                                 18   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                 19   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                 20   and independently usable by, blind and other visually impaired consumers.
                                 21          41.   Defendant has, upon information and belief, invested substantial sums
                                 22   in developing and maintaining Defendant’s website and Defendant has generated
                                 23   significant revenue from Defendant’s website. These amounts are far greater than
                                 24   the associated cost of making Defendant’s website equally accessible to visually
                                 25   impaired customers. Plaintiff has also visited prior iterations of the Defendant’s
                                 26   website, https://www.hotelbeverlyterrace.com/, and encountered such barriers.
                                 27         42.    Without injunctive relief, Plaintiff and Class Members will continue to
                                 28   be unable to independently use Defendant’s website resulting in a violation of their
                                                                               13
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    rights.
                                 2                              CLASS ACTION ALLEGATIONS
                                 3              43.   Plaintiff, on behalf of herself and all others similarly situated, seeks to
                                 4    certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2) (b)(3), the
                                 5    Nationwide class is initially defined as follows:
                                 6              all legally blind individuals who have attempted to access Defendant’s
                                                website by the use of a screen reading software during the applicable
                                 7
                                                limitations period up to and including final judgment in this action.
                                 8              44.   The California class is initially defined as follows:
                                 9              all legally blind individuals in the State of California who have
                                 10             attempted to access Defendant’s website by the use of a screen reading
                                                software during the applicable limitations period up to and including
                                 11             final judgment in this action.
                                 12             45.   Excluded from each of the above Classes is Defendant, including any
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                                      entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                 14   which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                 15   representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                 16   excluded are the judge and the court personnel in this case and any members of their
                                 17   immediate families. Plaintiff reserves the right to amend the Class definitions if
                                 18   discovery and further investigation reveal that the Classes should be expanded or
                                 19   otherwise modified.
                                 20             46.   Numerosity: Fed. R. Civ. P. 23(a)(1). This action has been brought
                                 21   and may properly be maintained as a class action against Defendant under Rules
                                 22   23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                 23   number and identities of other Class Members are unknown to Plaintiff at this time,
                                 24   Plaintiff is informed and believes that there are hundreds of thousands of Members
                                 25   in the Class. Based on the number of customers who have visited Defendant’s
                                 26   California hotel, it is estimated that the Class is composed of more than 10,000
                                 27   persons. Furthermore, even if subclasses need to be created for these consumers, it
                                 28   is estimated that each subclass would have thousands of Members. The Members
                                                                                   14
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                                 1    of the Class are so numerous that joinder of all Members is impracticable and the
                                 2    disposition of their claims in a class action rather than in individual actions will
                                 3    benefit the parties and the courts.
                                 4          47.    Typicality: Plaintiff and Class Members’ claims are typical of the
                                 5    claims of the Members of the Class as all Members of the Class are similarly
                                 6    affected by Defendant’s wrongful conduct, as detailed herein.
                                 7          48.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                 8    the Members of the Class in that they have no interests antagonistic to those of the
                                 9    other Members of the Class. Plaintiff has retained experienced and competent
                                 10   counsel.
                                 11         49.    Superiority: A class action is superior to other available methods for
                                 12   the fair and efficient adjudication of this controversy. Since the damages sustained
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                                 13   by individual Class Members may be relatively small, the expense and burden of
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                                 14   individual litigation makes it impracticable for the Members of the Class to
                                 15   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                 16   adjudication of this controversy through a class action will avoid the potentially
                                 17   inconsistent and conflicting adjudications of the claims asserted herein. There will
                                 18   be no difficulty in the management of this action as a class action. If Class treatment
                                 19   of these claims were not available Defendant would likely unfairly receive
                                 20   thousands of dollars or more in improper revenue.
                                 21         50.    Common Questions Predominate: Common questions of law and fact
                                 22   exist as to all Members of the Class and predominate over any questions solely
                                 23   affecting individual Members of the Class. Among the common questions of law
                                 24   and fact applicable to the Class are:
                                 25                    i. Whether                    Defendant’s                    website,
                                 26                       https://www.hotelbeverlyterrace.com/, is inaccessible to the
                                 27                       visually impaired who use screen reading software to access
                                 28                       internet websites;
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                                 1                    ii. Whether Plaintiff and Class Members have been unable to
                                 2                        access https://www.hotelbeverlyterrace.com/, through the use
                                 3                        of screen reading software;
                                 4                   iii. Whether the deficiencies in Defendant’s website violate the
                                 5                        Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                 6                        seq.;
                                 7                   iv. Whether the deficiencies in Defendant’s website violate the
                                 8                        California Unruh Civil Rights Act, California Civil Code § 51
                                 9                        et seq.;
                                 10                   v. Whether, and to what extent, injunctive relief should be imposed
                                 11                       on Defendant to make https://www.hotelbeverlyterrace.com/,
                                 12                       readily accessible to and usable by visually impaired
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                                 13                       individuals;
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                                 14                  vi. Whether Plaintiff and Class Members are entitled to recover
                                 15                       statutory damages with respect to Defendant’s wrongful
                                 16                       conduct; and
                                 17                  vii. Whether further legal and/or equitable relief should be granted
                                 18                       by the Court in this action.
                                 19         51.    The class is readily definable and prosecution of this action as a Class
                                 20   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                 21   difficulty which will be encountered in the management of this litigation which
                                 22   would preclude the maintenance of this matter as a Class action.
                                 23         52.    The prerequisites to maintaining a class action for injunctive relief or
                                 24   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                 25   to act on grounds generally applicable to the Class, thereby making appropriate final
                                 26   injunctive or equitable relief with respect to the Class as a whole.
                                 27         53.    The prerequisites to maintaining a class action for injunctive relief or
                                 28   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
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                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    common to the Class predominate over any questions affecting only individual
                                 2    Members and a class action is superior to other available methods for fairly and
                                 3    efficiently adjudicating the controversy.
                                 4           54.    The prosecution of separate actions by Members of the Class would
                                 5    create a risk of establishing inconsistent rulings and/or incompatible standards of
                                 6    conduct for Defendant. Additionally, individual actions may be dispositive of the
                                 7    interest of all Members of the Class although certain Class Members are not parties
                                 8    to such actions.
                                 9           55.    Defendant’s conduct is generally applicable to the Class as a whole
                                 10   and Plaintiff seek, inter alia, equitable remedies with respect to the Class as a whole.
                                 11   As such, Defendant’s systematic policies and practices make declaratory relief with
                                 12   respect to the Class as a whole appropriate.
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                                 13                                         COUNT I
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                                 14      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 15                                 U.S.C. § 12181 ET SEQ.
                                 16         (On Behalf of Plaintiff, the Nationwide Class, and the California Class)
                                 17          56.    Plaintiff alleges and incorporates herein by reference each and every
                                 18   allegation contained in paragraphs 1 through 55, inclusive, of this Complaint as if
                                 19   set forth fully herein.
                                 20          57.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 21   provides: “No individual shall be discriminated against on the basis of disability in
                                 22   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 23   advantages, or accommodations of any place of public accommodation by any
                                 24   person who owns, leases (or leases to), or operates a place of public
                                 25   accommodation.” 42 U.S.C. § 12182(a).
                                 26          58.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 27   discrimination also includes, among other things: “a failure to make reasonable
                                 28   modifications in policies, practices, or procedures, when such modifications are
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                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    necessary to afford such goods, services, facilities, privileges, advantages, or
                                 2    accommodations to individuals with disabilities, unless the entity can demonstrate
                                 3    that making such modifications would fundamentally alter the nature of such goods,
                                 4    services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 5    take such steps as may be necessary to ensure that no individual with a disability is
                                 6    excluded, denied services, segregated or otherwise treated differently than other
                                 7    individuals because of the absence of auxiliary aids and services, unless the entity
                                 8    can demonstrate that taking such steps would fundamentally alter the nature of the
                                 9    good, service, facility, privilege, advantage, or accommodation being offered or
                                 10   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 11   accommodation shall take those steps that may be necessary to ensure that no
                                 12   individual with a disability is excluded, denied services, segregated, or otherwise
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                                 13   treated differently than other individuals because of the absence of auxiliary aids
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                                 14   and services, unless the public accommodation can demonstrate that taking those
                                 15   steps would fundamentally alter the nature of the goods, services, facilities,
                                 16   privileges, advantages, or accommodations being offered or would result in an
                                 17   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                 18   order to be effective, auxiliary aids and services must be provided in accessible
                                 19   formats, in a timely manner, and in such a way as to protect the privacy and
                                 20   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 21         59.     Defendant’s hotel location is a “public accommodation” within the
                                 22   meaning of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in
                                 23   revenue from the sale of its amenities and services, privileges, advantages, and
                                 24   accommodations in California through its location and related services, privileges,
                                 25   advantages,        and        accommodations,          and        its       website,
                                 26   https://www.hotelbeverlyterrace.com/, is a service, privilege, advantage, and
                                 27   accommodation provided by Defendant that is inaccessible to customers who are
                                 28   visually impaired like Plaintiff.   This inaccessibility denies visually impaired
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                                 1    customers full and equal enjoyment of and access to the facilities and services,
                                 2    privileges, advantages, and accommodations that Defendant makes available to the
                                 3    non-disabled public. Defendant is violating the Americans with Disabilities Act,
                                 4    42 U.S.C. § 12181 et seq., in that Defendant denies visually impaired customers the
                                 5    services,    privileges,   advantages,     and    accommodations       provided    by
                                 6    https://www.hotelbeverlyterrace.com/. These violations are ongoing.
                                 7           60.    Defendant’s actions constitute intentional discrimination against
                                 8    Plaintiff and Class Members on the basis of a disability in violation of the
                                 9    Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
                                 10   constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                 11   the website in this inaccessible form; and has failed to take adequate actions to
                                 12   correct these barriers even after being notified of the discrimination that such
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                                 13   barriers cause.
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                                 14          61.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 15   set forth and incorporated therein Plaintiff requests relief as set forth below.
                                 16                                        COUNT II
                                 17      VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 18                               CIVIL CODE § 51 ET SEQ.
                                 19                      (On Behalf of Plaintiff and the California Class)
                                 20          62.    Plaintiff alleges and incorporates herein by reference each and every
                                 21   allegation contained in paragraphs 1 through 61, inclusive, of this Complaint as if
                                 22   set forth fully herein.
                                 23          63.    Defendant’s hotel location is a “business establishment” within the
                                 24   meaning of the California Civil Code § 51 et seq. Defendant generates millions of
                                 25   dollars in revenue from the sale of its services in California through its physical
                                 26   location and related services, and https://www.hotelbeverlyterrace.com/ is a service
                                 27   provided by Defendant that is inaccessible to customers who are visually impaired
                                 28   like Plaintiff and Class Members. This inaccessibility denies visually impaired
                                                                                19
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                                 1    customers full and equal access to Defendant’s facilities and services that Defendant
                                 2    makes available to the non-disabled public. Defendant is violating the Unruh Civil
                                 3    Rights Act, California Civil Code § 51 et seq., in that Defendant is denying visually
                                 4    impair customers the services provided by https://www.hotelbeverlyterrace.com/.
                                 5    These violations are ongoing.
                                 6          64.    Defendant’s actions constitute intentional discrimination against
                                 7    Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                 8    Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                 9    website that is inaccessible to Plaintiff and Class Members; maintains the website
                                 10   in this inaccessible form; and has failed to take adequate actions to correct these
                                 11   barriers even after being notified of the discrimination that such barriers cause.
                                 12         65.    Defendant is also violating the Unruh Civil Rights Act, California
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                                 13   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
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                                 14   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 15   of the California Civil Code provides that a violation of the right of any individual
                                 16   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 17         66.    The actions of Defendant were and are in violation of the Unruh Civil
                                 18   Rights Act, California Civil Code § 51 et seq.; therefore, Plaintiff and Class
                                 19   Members are entitled to injunctive relief remedying the discrimination.
                                 20         67.    Plaintiff and Class Members are also entitled to statutory minimum
                                 21   damages pursuant to California Civil Code § 52 for each and every offense.
                                 22         68.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 23   fees and costs.
                                 24         69.    Plaintiff and Class Members are also entitled to a preliminary and
                                 25   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                 26   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 27   necessary to make https://www.hotelbeverlyterrace.com/ readily accessible to and
                                 28   usable by visually impaired individuals.
                                                                                 20
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1                                PRAYER FOR RELIEF
                                 2          WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                 3    respectfully requests that the Court enter judgment in her favor and against
                                 4    Defendant as follows:
                                 5          A.    For an Order certifying the Nationwide Class and California Class as
                                 6                defined herein and appointing Plaintiff and her Counsel to represent
                                 7                the Nationwide Class and the California Class;
                                 8          B.    A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 9                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 10               enjoining Defendant from violating the Unruh Civil Rights Act, the
                                 11               ADA and requiring Defendant to take the steps necessary to make
                                 12               https://www.hotelbeverlyterrace.com/ readily accessible to and usable
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                                 13               by visually-impaired individuals;
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                                 14         C.    An award of statutory minimum damages of $4,000 per offense per
                                 15               person pursuant to section 52(a) of the California Civil Code.
                                 16         D.    For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 17               52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 18         E.    For pre-judgment interest to the extent permitted by law;
                                 19         F.    For costs of suit; and
                                 20         G.    For such other and further relief as the Court deems just and proper.
                                 21   ///
                                 22   ///
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                                                     CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1                              DEMAND FOR JURY TRIAL
                                 2          Plaintiff, on behalf of herself and all others similarly situated, hereby
                                 3    demands a jury trial for all claims so triable.
                                 4
                                 5    Dated: August 24, 2021                            Respectfully Submitted,
                                 6
                                 7                                                      /s/ Thiago M. Coelho
                                                                                        Thiago M. Coelho
                                 8                                                      Binyamin I. Manoucheri
                                 9                                                      WILSHIRE LAW FIRM
                                                                                        Attorney for Plaintiff and
                                 10                                                     Proposed Class
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